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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC,

            Plaintiff,
    v.
                                    Civil Action No. 7:21-cv-2777
SONEA GRIFFITHS,

            Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION TO ATTACH DEFENDANT’S
         BANK ACCOUNTS OR FOR A PRELIMINARY INJUNCTION

                            EXHIBIT A
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                                             February 25, 2021 Call

                                      Parties: Devin Konopa, Sonea Griffiths



SG: Hello?

DK: Hello, is this Sonea Griffiths?

SG: Yes, this is she.

DK: How’s it going? This is Devin Konopa with Charon Coins.

SG: Yes, I’m okay.

DK: Great. Uhm, I’m on a recorded line. Is that okay?

SG: Excuse me?

DK: I said I’m on a recorded line. Is that okay?

SG: Sure.

DK: Okay great. Uh, the reason I’m calling today is our, our bank had called us and said there was some
issues, uhm, with some recent wire transactions, and I just wanted to make sure that, uh, you received
the proper service, and was wondering – they had said that, uhm, some of our customers had reported,
uhm, that their transactions were fraudulent. Did you put in any report with your bank about fraudulent
transactions by any chance?

SG: Uh, no, I didn’t.

DK: Okay, that’s what everyone else had said too that we had done transactions with. So not sure where
that’s coming from. But uhm, you received your, uh, Bitcoin and everything okay and are happy with our
service?

SG: Yes, I have.

DK: Okay, cool. I just wanted to make sure…

SG: … I have, I have, I have, I have no complaints. Everything is okay, so.

DK: Okay, cool. I just wanted to make sure there wasn’t any issues. Uhm, would you be willing, if it came
down to it, uh, talking with our bank on a three-way phone call and letting them know that there was no
fraud involved or anything like that?

SG: Sure, yes.

DK: Okay, okay. Great. Thank you so much. That really helps. We’re just…

SG: You’re welcome – any time.

DK: … trying to get this sorted out.

SG: Okay.
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DK: Alright, well if you have any other questions or any other concerns, feel free to reach back out here
and, you know, we’ll be happy to help in any way as we always do.

SG: Alright. Thank you.

DK: … Thank you, Sonea.

SG: … Thanks for the call. If you need me, just, uh, text me. Okay?

DK: Okay, will do …

SG: … Thank you.

DK: … Thank you so much.

SG: Alright. Thanks. Bye-bye.

DK: Bye.
